Case 1

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

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ANGELA DIELE, Docket No.:1:23:cv:04841
Plaintiff,
-against-
THE CEDARWOOD COMPANIES INC.,
Defendant.
--- Xx

DECLARATION OF ERIC MALINOWSKI, IN OPPOSITION TO ORDER TO
SHOW CAUSE TO DISMISS OR TRANSFER PURSUANT TO 28 U.S.C. 1406(A)

I, ERIC MALINOWSKI, declare as follows:
ls I am an attorney at Camacho Mauro LLP, counsel for Plaintiff Angela Diele in the
above captioned action. I submit this declaration in opposition of the Court’s Order to Show
Cause to dismiss or transfer this action pursuant to 28 U.S.C. 1406(a). I make this Declaration
based upon my own personal knowledge and upon review of documents as to which the Court
may properly take judicial notice of.

JURISDICTION AND VENUE

2. Plaintiff, ANGELA DIELE, was and is an individual domiciliary and resident of New
York, residing in the Bourgh of Brooklyn, New York. On the day of the accident, September
30, 2021, Plaintiff was a resident of Brooklyn, New York.

a: Upon information and belief, at all times hereinafter mentioned, defendant, THE
CEDARWOOD COMPANIES INC., is a national real estate development company and
property management company which leases and manages retail storefronts and parking lots
throughout the United States, including areas in New York.

4. While CEDARWOOD COMPANIES INC is a foreign business corporation duly

incorporated pursuant to the laws of Ohio, with a principal place of business in Ohio. Upon

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information and beliet, defendant THE CEDARWOOD COMPANIES INC. manages two
storefronts in New York on behalf of Advance Auto Parts and four locations on behalf of
Walmart Inc.

5. Defendant THE CEDARWOOD COMPANIES INC. advertises and solicits.

business under its website https://www.cedarwoodcompanies.com/. On its website it

advertises that it has “assisted in the development, design, construction and management of”
2 locations of Advance Auto Parts Inc, in New York. Additionally, on its website it advertises
that it has “assisted in the development, design, construction and management” of 4 locations
of Walmart Inc.

CAUSE OF ACTION AS TO THE CEDARWOOD COMPANIES

6. On or about September 30, 2021, and at all times relevant to this complaint, defendant,
THE CEDARWOOD COMPANIES, was and still is the owner of a certain premises and land
known as “The Pocono Center”, located, in East Stroudsburg, Pennsylvania.

7. On or about September 30, 2021, and at all times relevant to this complaint, Plaintiff
was caused to trip and fall in the parking lot at the aforesaid premises due to its unsafe and/or
dangerous condition. As a result of the accident the Plaintiff suffered a fractured ankle that
required surgery.

8. While Plaintiff initially was treated at Lehigh Valley Hospital in East Stroudsburg,
Pennsylvania; on October 4, 2021, she came under the care of Dr. Orry Erez of Maimonides
Bone and Joint Center, located at 6010 Bay Parkway, Brooklyn, NY 11204.

9. On October 8, 2021, a few days after the accident, the Plaintiff underwent surgery on
her fractured ankle at Maimonides Medical Center in Brooklyn, New York. Dr. Erez
performed this surgery.

10. Plaintiff, treated with Dr Erez from October 4, 2021, until September 16, 2022.

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RELEVANT DOCUMENTS

ll. Attached hereto as Exhibit 1 is a true and accurate screenshot of Defendant’s website

https://www.cedarwoodcompanies.com/.

12. Attached hereto as Exhibit 2 is a true and accurate screenshot of Defendant’s website

https://www.cedarwoodcompanies.com/leasing/?type=retail-space which illustrates the East

Stroudsburg location knows as the Pocono Center as well as Advance Auto Parts and
Walmart.
13; Attached hereto as Exhibit 3 is a true and accurate screenshot of Defendant’s website

https://www.cedarwoodcompanies.com/leasing/properties/pocono-center/ illustrating the

Pocono Center which is the location of the accident.
14. Attached hereto as Exhibit 4 is a true and accurate screenshot of Defendant’s website

https://www.cedarwoodcompanies.com/leasing/properties/advance-auto-parts/ which

illustrates its New York locations.
15. Attached hereto as Exhibit 5 is a true and accurate screenshot of Defendant’s website.

https://www.cedarwoodcompanies.com/leasing/properties/walmart/ which illustrates its New

York locations.
16. Attached hereto as Exhibit 6 is a true and accurate copy of Plaintiff's operative report
of October 8, 2021.

DATED: July 10, 2023
New York, New York

CAMACHO Myf, LLP

Enc 6.
Attérngys for Plaintiff
40 Wall\Street I 40" Floor
New Yprk, New York 10005
(212) 9W7-4999

To: (See Affidavit attached) Our File No.: PLTY-5111-E

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EXHIBIT 1
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Cedarwood is a fully integrated national real estate Develop > Design > Build > Manage

development company devoted to our core principles of
honesty, loyalty, trust and respect, These core principles form
the basis of our relationships with our clients, our employees.

our pariners and our vendors.

We provide a full range of real estate development services ({h Ceda rwood (hh Riverview

as we strive to achieve the goals of our clients while building Development Management

long-standing relationships along the way. We utilize the
specialized knowledge from our team of professionals and
provide a seamless, timely and cost-effective approach to

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commitment. Architectural Construction

Since our inception in 1972. we are a company that focuses
on the satisfaction of our client's needs above all else. ed
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EXHIBIT 2
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@ info@cedanwooddcom / \ 330 836.9971

hy Home Leasing Projects About Us Companies Resources Contact
Fayette Crossing Hermitage Crossing
Lenexa, KS

Macedenia, OH

Lenexa, Kansas — Mixed Use Site Ohio Rt 8 and Highland Rd.
Lancaster, PA Stroudsburg, PA
Parkview Plaza Pocono Center

Waterville, ME

Waterville Commons Miscellaneous Shopping Centers

Advance Auto parts CVS Pharmacy

Houston, TX
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EXHIBIT 3
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Stroudsburg 367,981 10

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PA Square Footage Store Fronts
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50,872
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Project Details

Pocono Center is a power shopping center located in Stroudsburg, Pennsylvania at the intersection of State Rte 611 and Pocono
Commons Boulevard. The center is almost 368,000 square feet and anchored by Target, Home Depot and BJ’s Wholesale Club, Other
key tenants include T.J. Maxx, Party City, Pocono Urgent Care and Holiday Hair. Pocono Commons Boulevard traffic counts are 21,000

vehicles per day at this site.
Other area attractions include Pocono Motor Speedway, The Crossings Premium Outlets and Camelback Mountain Resorts that

provides year-round sports including winter skiing and summer activities.

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EXHIBIT 4
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Project Details

Advance Auto Parts, Inc. is a leading automotive aftermarket parts provider headquartered in Raleigh, N.C., that serves both
professional installer and do-it-yourself (DIY) customers. As of July 13, 2019, Advance operated 4,912 stores and 150 Worldpac
branches in the United States. Canada, Puerto Rico and the U.S. Virgin Islands. The Company also serves 1.250 independently owned
Carquest branded stores across these locations in addition to Mexico, the Bahamas, Turks and Caicos and British Virgin Islands. The
company’s stores and branches offer a broad selection of brand name, original equipment manufacturer and private label automotive
replacement parts, accessories, batteries and maintenance items for domestic and imported cars, vans, sport utility vehicles and light
and heavy duty trucks. Cedarwood Companies, Inc. has assisted in the development, design, construction and management of 34+
locations;

* Ohio - 10 Locations

+ Massachusetts — 6 Locations
+ Rhode Island — 4 Locations

* Pennsylvania — 4 Locations

* Missouri — 4 Locations

* Kansas — 3 Locations

« New York — 2 Locations

* Texas — 1 Location
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EXHIBIT 5
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Project Details

Walmart Inc, is an American multinational retail corporation that operates a chain of hypermarkets, discount department stores, and
grocery stores, headquartered in Bentonville, Arkansas. The company was founded by Sam Walton in 1962 and incorporated on
October 31, 1969. As of October 31, 2019, Walmart has 11,438 stores and clubs in 27 countries. It is the largest private employer in
the world with 2.2 million employees. Walmart was the largest U.S. grocery retailer in 2019. By 1988, it was the most profitable retailer
in the U.S., and it had become the largest in terms of revenue by October 1989, Cedarwood Companies. Inc. has helped to develop,
design, build and manage over 65 locations across the US.

¢ Qhio — 23 Locations

« Pennsylvania — 8 Locations
* Indiana - 5 Locations

« New York - 4 Locations

¢ Connecticut - 2 Locations
* Kentucky — 2 locations

* Texas — 2 Locations

+ West Virginia — 2 Locations
« Florida — 1 Locations

« Illinois — 1 Location

* Louisiana - 1 Location

« Maine — 1 Location

« Massachusetts — 1 Location
« North Carolina — 1 Location
Case 1:23-cv-04841-PKC-SJB Document 7-1 Filed 07/11/23 Page 17 of 23 PagelD #: 52

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EXHIBIT 6
Case 1:23-cv-04841-PKC-SJB Document 7-1 Filed 07/11/23 Page 19 of 23 PagelD #: 54

Wij Maimonides
Medical Center
Brooklyn, NY 11219

OPERATIVE REPORT
DATE OF OPERATION: 10/08/2022
PATIENT NAME: DIELE, ANGELA
MED REC #: 81335721
ACCOUNT NUMBER: 001639080
ATTENDING PHYSICIAN: Orry Eres, MD

ANESTHESIA:

PREOPERATIVE DIAGNOSES:
1. Right ankle trimalleolar equivalent.
2. Right ankle syndesmosis injury.

POSTOPERATIVE DIAGNOSES:
1. Right ankle trimalleolar equivalent.
2. Right ankle syndesmosis injury.

NAME OF PROCEDURE:
1. Right ankle open reduction internal fixation lateral

malleolus.
2. Open reduction internal fixation of the syndesmosis.

OPERATIVE IMPLANTS: Stryker distal fibular iocking plate,
appropriate screws, Biomet.

SPECIMENS: None.

INDICATIONS: The patient is a 52-year-old female with a history
of right ankle fracture. Patient had a fracture-dislocation of
the ankle. Patient was told about operative and nonoperative
alternatives. Risks and benefits were discussed including but
not limited to infection, bleeding, nerve damage, fracture, DVT,
PE, possible death. Patient was told about possible -syndesmotic
fixation. All questions were answered. Informed consent was
obtained. Patient stated that she did not want to have multiple
surgeries and it was elected to place an EndoButton fixation for
the syndesmosis if this were to be needed.

DESCRIPTION OF PROCEDURE: Patient was identified in the
preoperative holding area with 2 patient-specific identifiers.
Patient's operative site was marked. Patient was brought to the
operative suite. Patient was administered anesthesia by
anesthesia staff. Antibiotics were given within 1 hour of
surgical procedure. Operative timeout was performed per

OPERATIVE REPORT
Page i

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Operative Report - Page 4/3 Job 1875210 (11/12/2021 09:17) - Page 1 Doc# 4
Case 1:23-cv-04841-PKC-SJB Document 7-1 Filed 07/11/23 Page 20 of 23 PagelD #: 55

Maimonides
ip Maimonides
Brooklyn, NY 11219

OPERATIVE REPORT
DATE OF OPERATION: 10/08/2021
PATIENT NAME: DIELE, ANGELA
REC #$: 81335721
ACCOUNT NUMBER: 001639080
ATTENDING PHYSICIAN: Oxry Erez, MD
Maimonides Medical Center protocol. Patient was sterilely
prepped and draped in normal fashion.

A lateral incision was made over the fibula. Distal fascia and
periosteum were incised. Superficially the soft tissue was
bluntly dissected. Fracture was identified. Fracture was
irrigated and debrided of soft tissue and hematoma. The fracture
was then reduced with a lobster claw. A 2.7 interfragmentary
screw was then placed using lag technique. There was good
purchase. The clamp was removed. A distal fibular locking plate
was then placed. Screws were placed proximally: and distally.

The fibula was then tested with external stress. There was
significant widening of the syndesmosis. It was elected to
proceed with syndesmosis fixation.

The syndesmosis was clamped. A Biomet fixation device was then
utilized with 4 cortices and EndoButton flipped appropriately.
The clamp was removed, There was good fixation. There was no
widening with external stress.

The area was copiously irrigated. Incision was closed with 0,
2-0 and staples. Dermabond was placed. Sterile dressing was

placed. All sponge, instrument and needle counts were correct.

A short leg nonweightbearing cast was placed. Patient tolerated

the procedure well.

ElePahhGalk Sond: OAEDEMIINARY REPORT AND MUST NOT BE CONSIDERED FINAL
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Orry Erez, MD
DICTATED BY: Orry Erez, MD

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OPERATIVE REPORT
Page 2

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Case 1:23-cv-04841-PKC-SJB Document 7-1 Filed 07/11/23 Page 21 of 23 PagelD #: 56

; Wp Maimonides
Medical Center
Brooklyn, NY 11219

OPERATIVE REPORT
DATE OF OPERATION: 10/08/2021

PATIENT NAME: DIELE, ANGELA

MED REC #: 61335721

ACCOUNT NUMBER: 001639080
ATTENDING PHYSICIAN: Oxrxy Erez, MD

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Job #: 711299

OPERATIVE REPORT
Page 3

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STATE OF NEW YORK)
COUNTY OF NEW YORK) ss:

AnaMaria Suarez, being duly sworn, deposes and says:

That I am not a party to the within action, am over 18 years of age and reside in Bronx County,
New York,

That on July 11, 2023, deponent served the within, DECLARATION OF ERIC
MALINOWSKI, IN OPPOSITION TO ORDER TO SHOW CAUSE TO DISMISS OR
TRANSFER PURSUANT TO 28 U.S.C. 1406(A) upon the attorneys/individuals listed
below, at his/her/its addresses which were so designated by said attorneys for said purpose,
by depositing a true copy of same enclosed in a post-paid properly addressed wrapper in a
post office under the exclusive care and custody of the United States Postal Service within the
State of New York:

TO:

The Cedarwood Companies Inc.
3200 W. Market St., Suite 200,
Fairlawn, OH 44333

thelr ZL

YAnaMaria Suarez

Sworn to before me this
11" day of July 2023

Pakycia Atlahon

Notary Public

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Docket No.: 1:23:cv:04841

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

ANGELA DIELE,
Plaintiff(s),

- against -

THE CEDARWOOD COMPANIES INC.,
Defendant(s).

. DECLARATION OF ERIC MALINOWSKIL, IN OPPOSITION TO ORDER TO SHOW
CAUSE TO DISMISS OR TRANSFER PURSUANT TO 28 U.S.C. 1406(A)

CAMACHO MAURO, LLP
Attorneys for Plaintiff(s)
40 Wall Street 141° Floor
New York, NY 10005
(212) 947-4999
Our File No.: PLTY-5111-E

To: The Cedarwood Companies Inc. 3200 W. Market Street, Suite 200 Fairlawn, OH 44333
Defendant

Service of a copy of the within **** is hereby admitted.
Dated: ****

PLEASE TAKE NOTICE:
g That the within is a (certified) true copy of a **** entered in the office of the clerk of the within
._. hamed Court on ****,
Notice of
Entry
gO That an Order of which the within is a true copy will be presented for settlement to the Hon. ****,
Notice or n° of the judges of the within named Court, at ****, on ****, at ****,
Notice O
Settlement

Dated: New York, New York
July 11, 2023

CAMACHO MAURO, LLP
Attorneys for Plaintiff(s)
40 Wall Street | 41“ Floor

New York, NY 10005
